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                                                                                   (SPACE BELOW FOR FILING STAMP ONLY)
 1    MARK W. COLEMAN #117306
      NUTTALL & COLEMAN
 2    2333 MERCED STREET
      FRESNO, CALIFORNIA 93721
 3    PHONE (559) 233-2900
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 4
      ATTORNEYS FOR Defendant, JOSEPH MAR
 5

 6

 7                                  UNITED STATES DISTRICT COUNT

 8                                  EASTERN DISTRICT OF CALIFORNIA

 9
      UNITED STATES OF AMERICA,                          Case No: 1:14-CR-00226–DAD-BAM
10
                      Plaintiffs,
11                                                               WAIVER OF APPEARANCE
              v.                                                         AND
12                                                                      ORDER
      JOSEPH MAR,
13

14                    Defendants.

15

16    TO:     THE UNITED STATES DISTRICT COURT; UNITED STATES ATTORNEY

17            OFFICE and/or ITS REPRESENTATIVES:

18            Defendant, JOSEPH MAR, by and through his attorney MARK W. COLEMAN, of

19    NUTTALL & COLEMAN, hereby applies to this court for an Order waiving his appearance at

20    the Settlement Conference currently scheduled for March 23, 2020 at 1:00 p.m., before

21    Magistrate Judge Barbara A. McAuliffe.

22            The reason for this request is that Mr. Mar lives in Ceres, California, and does not have

23    sufficient available paid time off with his employer, and in order to come to court he would

24    have to take a full day off work.

25            Mr. Mar has been in continued contact with his attorney, and gives his attorney full

26    power to act on his behalf. The matter of the Settlement Conference has been discussed and Mr.

27    Mar is satisfied that all relative matters have been adequately discussed.

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 1           It is hereby requested that Joseph Mar’s appearance at the hearing on March 23, 2020, at

 2    1:00 p.m. be excused.

 3    DATED: March 16, 2020.              Respectfully submitted,

 4                                        NUTTALL & COLEMAN
 5                                        /s/ Mark W. Coleman
 6                                        MARK W. COLEMAN
                                          Attorney for Defendant,
 7
                                          JOSEPH MAR
 8

 9                                               ORDER

10           GOOD CAUSE APPEARING,

11           IT IS HEREBY ORDERED that Defendant, Joseph Mar, is hereby excused from

12    appearing at the Status Conference currently scheduled for March 23, 2020, at 1:00 p.m.

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      IT IS SO ORDERED.
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15       Dated:    March 17, 2020                            /s/ Barbara A. McAuliffe             _
                                                         UNITED STATES MAGISTRATE JUDGE
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